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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                :       Chapter 11
                                                      :
THE WALKING COMPANY HOLDINGS,                         :       Case No. 18-10474 (LSS)
INC., et al.,                                         :       Jointly Administered
                                                      :
         Debtors.                                     :       Hearing Date: 7/24/18 at 2:00 p.m.
                                                      :       Objections Due: 7/17/18 at 4:00 p.m.

    UNITED STATES TRUSTEE’S OBJECTION TO REORGANIZED DEBTORS’
  MOTION FOR ENTRY OF ORDER AND FINAL DECREE CLOSING CERTAIN OF
   THE CHAPTER 11 CASES, WAIVING REQUIREMENTS OF FURTHER POST-
   CONFIRMATION REPORTING IN CHAPTER 11 CASES TO BE CLOSED AND
              REQUEST FOR CHANGE IN CAPTION (D.I. 380)

         Andrew R. Vara, Acting United States Trustee for Region 3 (“U.S. Trustee”), through his

counsel, files this Objection to the Reorganized Debtors’ Motion for Entry of an Order and Final

Decree Closing Certain of the Chapter 11 Cases, Waiving Requirements of Further Post-

Confirmation Reporting in Chapter 11 Cases to Be Closed and Request for Change in Caption

(the “Motion”) (D.I. 380). In support his Objection, the U.S. Trustee states as follows:

                                 PRELIMINARY STATEMENT

         1.     The Court should deny approval of the Motion for several reasons:

                (a)     The Motion is premature. The Reorganized Debtors’ (“Debtors”) plan has

         not been fully administered as a number of critical tasks remain to be completed before

         any of the cases may be closed. These tasks include claim objections, final professional

         fee applications and resolution of fees payable to the United States Trustee, where the

         Debtors have understated their disbursements in previously filed monthly operating

         reports (“MORs”) and underpaid fees due under 28 U.S.C. Section 1930 (a)(6).

                (b)     The Debtors seek to effect a form of substantive consolidation of these

         cases, contrary to the terms of their confirmed plan and contrary to Bankruptcy Code
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       Section 1127(b), proposing to collapse four separate cases into the guise of a single

       bankruptcy case, without the filing of post-confirmation reports or payment of

       corresponding United States Trustee fees under 28 U.S.C. Section 1930(a)(6) for the

       three Debtors whose cases will continue to be administered despite their fictitious

       closing.

               (c)      The Motion purports to seek nunc pro tunc relief from the Debtors’

       obligations to file MORs and quarterly post-confirmation reports for the three cases the

       Debtors seek to close.

                                   JURISDICTION AND STANDING

       2.      Pursuant to 28 U.S.C. § 586, the U.S. Trustee is charged with overseeing the

administration of Chapter 11 cases filed in this judicial district. This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written by Congress and

interpreted by the courts. See United States Trustee v. Columbia Gas Sys., Inc. (In re Columbia

Gas Sys., Inc.), 33 F.3d 294, 295-96 (3d Cir. 1994) (noting that U.S. Trustee has “public interest

standing” under 11 U.S.C. § 307, which goes beyond mere pecuniary interest); Morgenstern v.

Revco D.S., Inc. (In re Revco D.S., Inc.), 898 F.2d 498, 500 (6th Cir. 1990) (describing the U.S.

Trustee as a “watchdog”).

       3.      In furtherance of his case supervisory responsibilities, as well as pursuant to 11

U.S.C. § 307, the U.S. Trustee has standing to raise and be heard on this Objection.

       4.      Pursuant to Local Rule 9013-1(h), the U.S. Trustee consents to the entry of a final

order by this Court in connection with the Settlement Motion to the extent that it is later

determined that this Court, absent consent of the parties, cannot enter final orders or judgments

in connection herewith consistent with Article III of the United States Constitution.



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                                  STATEMENT OF FACTS

       5.      On March 6, 2018, each of the Debtors filed voluntary petitions for relief under

chapter 11 of the Bankruptcy Code (the “Petition Date”).

       6.      The United States Trustee appointed an official committee of unsecured creditors

(“Committee”) on March 20, 2018.

       7.      On June 13, 2018, the Court entered its findings of Fact, Conclusions of Law and

Order Confirming the Debtors’ Joint Plan of Reorganization, As Modified (“Confirmation

Order,” D.I. 359). The Debtors’ Plan of Reorganization (“Plan,” Exhibit A to the Confirmation

Order) expressly provides that “there will be no substantive consolidation of the Chapter 11

Cases and the Estates for distribution, voting, or any other purposes under the Bankruptcy

Code.” Plan, Article V, Section B.

       8.      On June 29, 2018, the Debtors filed a Notice of Effective Date (D.I. 379)

declaring that the Effective Date of the Plan was June 29, 2018. In the Motion, the Debtors

declare that the Plan was substantially consummated on the Effective Date. Motion, ¶ 4.

       9.      On July 3, 2018, only four days after the Effective Date, the Debtors filed the

Motion, seeking:

               (a)    Closure of the cases of the three “operating company” Debtors, The

       Walking Company (“TWC”), FootSmart, Inc. (“FootSmart”), and Big Dog USA, Inc.

       (“Big Dog”) as “fully administered,” leaving open only the case of the “holding

       company” Debtor, The Walking Company Holdings, Inc. (“Holdings”);

               (b)    Consolidation of all remaining matters in the administration of the TWC,

       FootSmart, and Big Dog cases into the Holdings case for disposition;

               (c)    Waiver of the requirement of any further post-confirmation reporting in



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       the TWC, FootSmart, and Big Dog cases, including waiver of the Final Reports required

       by Local Rule 3022-1(c); and

               (d)     A change of caption removing references to the TWC, FootSmart and Big

       Dog cases.

       10.     The Motion states that the following matters (collectively, “Pending Matters”)

remain pending:

              (a)    Amended Objection of Centennial Real Estate Company, Deutsche Assets
       and Wealth Management, WBCMT 2017-C33 Independence Center LLC, Paseo Nuevo
       Owner LLC, DDR Deer Park Town Center LLC, Starwood Retain Partners LLC, and
       Forbes Company and the Macerich Company to Debtors’ Notice of (I) Assumption of
       Contracts and Leases, (II) Fixing of Cure Amounts, and (III) Deadline to Object Thereto;
       and
               (b)     Claim review and Objection.

The Motion further states that other than the two Pending Matters and “except for review of

pending proofs of claim, all claims and controversies in these cases have been resolved”

(Motion, ¶¶ 5-6), i.e.. that the cases have been fully administered.

       11.     The Plan requires the filing of final applications for professional fees

(“Professional Fee Claims”) no later than 45 days after the Effective Date (August 13, 2018), and

the filing of objections thereto within 30 days after the filing of the applicable Professional Fee

Claim. (Plan, Article I B (113); Article II A). As of July 16, 2018, no Professional Fee Claims

have been filed and no hearing has been scheduled to consider them.

       12.     The Plan provides for payment of General Unsecured Claims in Classes 5A

through 5D pro rata, from $2.55 million of cash from the Debtors’ operations, to be deposited

into a GUC Fund escrow account as follows: $500,000 by August 1, 2018; $500,000 by

September 3, 2018; $800,000 by October 1, 2018; and $750,000 by November 1, 2018. Plan,

Article V, Section E3(A). Holdings has consistently stated that it has no operations and makes


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only de minimis (if any) disbursements, and it therefore appears that the $2.55 million must be

paid entirely by TWC, FootSmart, and Big Dog. Neither the Notice of Effective Date nor the

Motion indicate that the Debtors have commenced (let alone completed), payments into the GUC

Fund escrow account.

        13.      The Plan further provides for payment of allowed Section 503(b)(9) claims by

deposits into an escrow account of cash from the Debtors’ operations in an amount equal to the

Debtors’ good faith estimate of the total amount of such claims in equal installments due on

August 1, September 3, October 1 and November 1, 2018. Plan, Article V, Section E3(B).

Again, because Holdings states that it has no operations and makes only de minimis (if any)

disbursements, it appears that the 503(b)(9) escrow account deposits must be funded entirely by

TWC, FootSmart, and Big Dog. Neither the Notice of Effective Date nor the Motion indicate

that the Debtors have commenced (let alone completed) payments into the Section 503(b)(9)

escrow account.

        14.      The most recent claims register filed by Claims and Noticing Agent Kurtzman

Carson Consultants LLC on July 12, 2018 (D.I. 392) indicates that a total of 372 proofs of claim

have been filed against all four debtors, as follows: Holdings, 157 claims; 1 TWC, 191 claims;

FootSmart, 6 claims; and Big Dog, 17 claims. The claims register indicates that several claims

may be amendments of filed claims. To date, the Debtors have filed no claim objections and, as

they admit in the Motion, review of and objection to proofs of claim are “Pending Matters" that

remain to be completed.




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            The Claims register reflects that one claim against Holdings was withdrawn. According to the Debtors’
declaration in support of first-day motions, Holdings is a holding company whose activities are limited to ownership
of the stock in the three subsidiary Debtors and ownership of intellectual property used by TWC and FootSmart.
Some of the claims filed against Holdings may have been filed simply because Holdings is the “lead” debtor in these
cases, and such claims may be subject to re-characterization as claims against TWC, FootSmart and/or Big Dog.

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         15.    The Debtors acknowledge that a purpose of the Motion is to relieve the proposed

“Closing Debtors” (TWC, FootSmart, and Big Dog) of the burden of payment of further

administration fees and filing of further post-confirmation reports. Indeed, they propose to

collapse administration of the Chapter 11 cases of TWC, FootSmart and Big Dog – the operating

companies whose collective quarterly U.S. Trustee fees under 11 U.S.C. Section 1930(a)(6)

exceed $260,000 – into the case of Holdings, the financially inactive holding company whose

quarterly U.S. Trustee fees are only $325. This fee reduction would occur while TWC,

FootSmart and Big Dog continue to receive the benefit of having their cases administered in this

Court.

         16.    Moreover, the Motion expressly requests a waiver of post-confirmation reporting

in the cases of the proposed Closing Debtors:

         [T]he requirement of further post-confirmation reporting in the Closed Cases
         should be waived. No beneficial purpose would be served by further reporting in
         those cases. The last activity in those cases was set forth in the most recently
         filed post-confirmation report and no further activity will occur in the Closed
         Cases.
Motion, ¶ 19. The request is confusing; as of July 16, 2018, the Debtors have not yet filed

MORs for June 2018 (they are due to be filed by July 20) and have not filed any post-

confirmation reports. Moreover, all three of the proposed Closing Debtors have been conducting

uninterrupted business activity after the May 31, 2018 closing date of their May 2018 MORs,

including after the Effective Date. Thus, the Motion appears not only to be seeking relief from

the proposed Closing Debtors’ reporting obligations (as well as their corresponding quarterly

U.S. Trustee fee obligations), but also to be seeking such relief nunc pro tunc to May 31, 2018.

         17.    The Debtors’ disbursements as self-reported in their MORs, and the

corresponding quarterly U.S. Trustee fees pursuant to 28 U.S.C. Section 1930(a)(6), are subject

to audit and adjustment.

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                 (a)      Holdings’ MOR for March 2018 indicates that Holdings had no receipts

        and no disbursements in that month; its Attestations of Inactivity in lieu of MORs for

        April and May 2018 state that Holdings is a holding company for TWC, FootSmart and

        Big Dog, that it has no other activity, and that its disbursements for the quarter do not

        exceed $15,000. Holdings’ U.S. Trustee fees under 28 U.S.C. Section 1930(a)(6) for the

        first calendar quarter of 2018 were $325 and are trending to $325 for the second quarter.

                 (b)      TWC’s MOR for March 2018 reports disbursements in excess of $17.7

        million and U.S. Trustee fees of $177,702.72 for the first quarter. TWC’s March MOR

        understates disbursements by reporting $14.48 million of acknowledged revolving line of

        credit payments as transfers to other debtor-in-possession accounts instead of

        disbursements. 2 TWC’s actual U.S. Trustee fee payable for the first quarter is the

        statutory maximum of $250,000.

                 (c)      TWC’s April and May 2018 MORs disclose combined disbursements in

        excess of $33 million and U.S. Trustee fees of $250,000 for the second quarter. TWC’s

        April and May 2018 MORs also report $69.9 million of transfers to other debtor-in-

        possession accounts that appear to be line of credit payments and should be recorded as

        disbursements, regardless of whether they affect TWC’s U.S. Trustee fees.

                 (d)      FootSmart’s MOR for March 2018 discloses disbursements of less than

        $75,000 and U.S. Trustee fees of $650 for the first quarter. However, FootSmart’s March



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           The Debtors’ motion for authority to maintain their existing bank accounts and continue their existing
cash management system (“Cash Management Motion,” D.I. 12) explains that funds from retail sales are deposited
into the Debtors’ restricted accounts at Wells Fargo, and from there “withdrawn daily by Wells Fargo to pay down
the Credit Facility.” See, e.g., Cash Management Motion ¶ 16 and Exhibit B. During the term of a line of credit, the
borrower engages in a series of borrowing transactions which are repaid by sweeps of its restricted accounts. The
revolving nature of a line of credit account results in a disbursement each time the lender sweeps funds to pay down
the revolving line. In re Fabricators Supply Co., 292 B.R. 531, 534 (Bankr. D. N.J. 2003)

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2018 MOR understates actual disbursements by reporting $842,000 of revolving line of

credit payments as transfers to other debtor-in-possession accounts instead of

disbursements. FootSmart’s actual first quarter U.S. Trustee fee payable is $4,875.

       (e)       FootSmart’s April and May 2018 MORs disclose combined disbursements

in excess of $144,000 and second quarter fees trending to $1,625. However, FootSmart’s

April and May 2018 MORs also report $2.331 million of what appear to be line of credit

payments that should be recorded as disbursements, as transfers to other debtor-in-

possession accounts. If those “transfers” were in fact disbursements, FootSmart’s second

quarter U.S. Trustee fees will be at least $9,750 before accounting for June 2018

disbursements.

       (f)       Big Dog’s MOR for March 2018 discloses disbursements in excess of

$141,000 and fees of $975 for the first quarter. However, Big Dog’s March 2018 MOR

understates actual disbursements by reporting almost $260,000 of revolving line of credit

payments as transfers to other debtor-in-possession accounts. Big Dog’s actual first

quarter U.S. Trustee fee payable is $4,875.

       (g)       Big Dog’s April and May MORs disclose combined disbursements in

excess of $445,000 and second quarter fees quarterly fees trending to $4,875 for the

second quarter. However, Big Dog’s April and May 2018 MORs report $701,000 of

what appear to be line of credit payments that should be recorded as disbursements, as

transfers to other debtor-in-possession accounts. If those “transfers” were in fact

disbursements, Big Dog’s second quarter U.S. Trustee fees will be at least $6,500 before

accounting for June 2018 disbursements.

18.    The resolution and potential adjustment of the Debtors’ reported disbursements



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and corresponding U.S. Trustee fees are important components of case administration to be

completed before any of the Debtors’ cases are closed.

                                          ARGUMENT

A. The Debtors’ Cases Are Not Fully Administered.

       19.     The Motion is premature. A large number of tasks remains to be completed in

each of these four cases before the Court can find them to be considered fully administered.

       20.     The Debtors assert that under Local Rule 5009-1:

               a. Motion. Upon written motion, a party in interest may seek the entry of a final
                  decree at any time after the confirmed plan has been substantially
                  consummated provided that all required fees due under 28 U.S.C. § 1930 have
                  been paid…
               b. Service. A motion for the entry of a final decree shall be served upon the
                  debtor, the trustee, if any, the United States Trustee, all official committees
                  and all creditors who have filed a request for notice pursuant to
                  Fed.R.Bankr.P. 2002 and Local Rule 9013.
Del. Bankr. LR 5009-1(a), (b) (2009).
       21.     Local Rule 5009-1 was superseded on February 1, 2013 by the more detailed Del.

Bankr. LR 3022-1, which provides in relevant part:

               (a) Motion. Upon written motion, a party in interest may seek the entry of a final
                   decree at any time after the confirmed plan has been fully administered
                   provided that all required fees due under 28 U.S.C. § 1930 have been paid.
                   Such motion shall include a proposed final decree order that (i) orders the
                   closing of the case and (ii) identifies in the caption and in the body of the
                   order the case name and the case number of each case to be closed under the
                   order.
               (b) Service. A motion for the entry of a final decree shall be served upon the
                   debtor, the trustee, if any, the United States Trustee, all official committees
                   and all creditors who have filed a request for notice under Fed. R. Bankr. P.
                   2002 and Local Rule 9013-1.
               (c) Final Report. The debtor (or trustee, if any) shall file a final report and
                   account in the form prescribed by the United States Trustee on or before
                   fourteen (14) days prior to the hearing on any motion to close the case.
Among the changes made in the 2013 amendment is the explicit requirement that the confirmed

plan be “fully administered.”

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       22.     The Bankruptcy Code and Federal Rules of Bankruptcy Procedure do not define

the term “fully administered.” However, the Advisory Committee Note (1991) to Bankruptcy

Rule 3022 states in relevant part that:

       Factors that the court should consider in determining whether the estate has been
       fully administered include (1) whether the order confirming the plan has become
       final, (2) whether deposits required by the plan have been distributed, (3) whether
       the property proposed by the plan to be transferred has been transferred, (4)
       whether the debtor or the successor of the debtor under the plan has assumed the
       business or the management of the property dealt with by the plan, (5) whether
       payments under the plan have commenced, and (6) whether all motions, contested
       matters, and adversary proceedings have been finally resolved.

       The court should not keep the case open only because of the possibility that the
       court’s jurisdiction may be invoked in the future.

       23.     The court need not find in the affirmative on each of the six enumerated factors

before determining that a case has been fully administered (or, conversely, should remain open),

and the decision must be made on a case-by-case basis.

       24.     Applying the Advisory Note’s six-factor test, the Motion does not demonstrate

that the Debtors’ cases have been fully administered. While certain enumerated acts have

occurred – indeed, the recapitalization transactions appear to have been completed – the

occurrence of other events is unclear. For example, the Motion does not disclose whether

deposits required by the Plan have been distributed and is silent as to whether the debtors have

even commenced (let alone completed) funding the GUC Fund and 503(b)(9) escrow accounts.

       25.     More important, by the Debtors’ own admission, the Pending Matters remain to

be completed, as do the filing and approval of Professional Fee Claims and the resolution of

quarterly U.S. Trustee fees.

       26.     The Pending Matters, Professional Fee Claims, resolution of U.S. Trustee fees,

and other tasks that must be completed before these cases can be found to be fully administered,



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are not merely ministerial tasks. On the contrary, they are important and complex substantive

pending matters which will require applications, motions and potential adversary proceedings,

possible discovery and evidentiary hearings, and rulings by the Court. They are not speculative

matters for which the Court’s jurisdiction “may” be invoked in the future

       27.     Claim objections alone may consume several months. Notably, claims arising

from rejection under the Plan of executory contracts and leases are not even due until 30 days

after the Effective Date (July 29, 2018, see Plan, Article VI F, Confirmation Order, ¶ 31). The

governmental claims bar date (180 days from the Petition Date) will not expire until September

4, 2018, and the Plan’s Claim Objection Deadline (180 days after the Plan’s Effective Date per

Plan Article II B (21) and subject to extension) will not pass until December 26, 2018.

       28.     Where the tasks remaining to be performed are more than “minor ministerial

matters,” the case has not been fully administered. In Re Swiss Chalet, Inc., 485 B.R. 47, 52

(Bankr. D. P.R. 2012) (citing Alan R. Resnick & Henry J. Sommer, 3 Collier on Bankruptcy ¶

350.02 (16th ed. 2012)).

       29.     The Debtors cite JMP-Newcor Int’l, 225 B.R. 462 (Bankr. N.D. Ill 1998) for the

proposition that pending contested matters or adversary proceedings are no bar to entry of a final

decree while the court retains jurisdiction over discrete controversies. But in JMP-Newcor, the

debtor had taken all actions required under plan; the only matters remaining were certain plan

disbursements and an adversary proceeding. The court held that entry of a final decree while

retaining jurisdiction over the pending adversary proceeding “appears to be a reasonable

compromise between the policy against delaying the closing of cases and the need for the Court

to adjudicate pending matters ancillary to the administration of the bankruptcy estate.” Id. at

465 (emphasis added).



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       30.     This Court has frequently entered final decrees in the same manner as in JMP-

Newcor court, retaining jurisdiction over pending adversary proceedings so that case closing is

not otherwise delayed by pending matters ancillary to the administration of the case – that is, by

matters that are subsidiary, supplementary or secondary to the administration of the bankruptcy

case. The Debtors cite, among others, In re Combustion Engineering, Inc., 03-10495 (JKF), In

re EZ Lube, LLC, 08-13256 (CSS) and In re Nellson Nutraceuticals, Inc., 06-10072 (CSS) as

cases in which the court granted relief similar to the relief they request here. Although those

cases entered final decrees “around” pending matters, they did consolidate the remaining

administration of multiple cases into a single case.

               (a)     Combustion Engineering was a single debtor asbestos case. The debtor

       obtained an order confirming (and recommending District Court affirmance of) its

       modified Chapter 11 plan which established an asbestos trust in December 2005, and the

       plan was affirmed by the District Court in March 2006. The court entered a final decree

       over a year later, in June 2007, after resolving final professional fee applications, and

       other post-confirmation matters, and retaining jurisdiction over other pending matters.

               (b)     In In re EZ Lube, all matters except (i) a single adversary proceeding

       commenced by the unsecured creditors’ trust and (ii) a proof of claim integrally related to

       the pending adversary proceeding, had been fully resolved. In the final decree order,

       entered more than two years post-confirmation, the court closed both of the debtors’

       cases but retained jurisdiction over the two pending matters and held them open “until

       adjudicated to completion.” See Final Decree Order dated March 30, 2012 (D.I. 1108).

               (c)     In Nellson Nutraceuticals, except for the United States Trustee’s pending

       appeal from an order approving a management incentive plan, all matters in the seven



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         jointly administered cases, including plan distributions, had been completed. See Nellson

         Final Decree Motion (D.I. 2367), ¶ 5. The final decree order, entered more than nine

         months post-confirmation, closed the six cases in which all matters had been completed,

         but held open the case with the pending appeal. See Final Decree Order dated July 31,

         2009 (D.I. 2371).

         31.      The Debtors also cite In re Majestic Star Casino, 09-14136 (KG) as support for

the Motion. In Majestic Star, the court did grant relief remarkably similar to that sought here;

several long-confirmed cases were consolidated into a single case for remaining case

administration. Indeed, the motion for a final decree in Majestic Star appears to be the template

for the Motion in this case. 3 However, Majestic Star is distinguishable for several reasons.

                  (a)      In Majestic Star, the motion for a final decree was filed some 18 months

         post-confirmation. A significant portion of all case administration had already been

         completed, including the entry of orders approving final professional fee applications and

         the entry of orders granting nine substantive and eight non-substantive objections to

         proofs of claim.

                  (b)      In this case, in marked contrast to Majestic Star, the Motion was filed less

         than one month post-confirmation and only four days after the Effective Date.

         Professional Fee Claims have yet to be filed, let alone considered by the Court; they are

         not even due until August 13, 2018 and are then subject to a 30-day objection period. The

         rejection damages claims bar date will not pass until July 29, 2018, and the governmental

         claims bar date will not pass until two months after the filing of the Motion, on


         3
           The Debtors’ use of the Majestic Star final decree motion as the template for the Motion in this case may
explain the confusing statement in paragraph 19 of the Motion that the last activity in the cases of the proposed
Closing Debtors “was set forth in the most recently filed post-confirmation reports….” The Plan only became
effective on June 29, 2018, and no post-confirmation reports have been filed.

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       September 4, 2018. And the Debtors have yet to file, let alone be heard or obtain orders

       on, any claim objections. Finally, unlike Majestic Star, the Debtors’ quarterly U.S.

       Trustee fees remain to be resolved due to discrepancies in the Debtors’ self-reported

       disbursements.

       32.     The remaining matters in these cases, including claim objections, professional fee

applications, and resolution of U.S. Trustee fees, are all principal matters in the administration of

the Debtors’ respective cases. They are the antithesis of “ancillary matters” around which a

Chapter 11 case may be closed, and the anticipated cost reduction from closing these cases does

not justify closing any case before it is fully administered. In re SLI Inc., 2005 WL 1668396 at

*3 (Bankr. D. Del. June 25, 2005) (denying final decree motion motivated by desire to reduce

quarterly U.S. Trustee fees, and explaining that saving of U.S. Trustee fees from closing a

bankruptcy case is a result of full administration, not a cause for determining that a case has

been fully administered).

       33.     A final decree should be entered in each of the four Debtors’ cases only if, as, and

when each case is fully administered.

B. The Debtors Are Seeking Substantive Consolidation Of Their Cases.

       34.     The Debtors do not seek to have final decrees entered “around” the Pending

Matters, subject to the Court’s retained jurisdiction as and when the Pending Matters are

resolved. Instead, recognizing that none of their cases has been fully administered and that

TWC, FootSmart, and Big Dog are continuing to incur U.S. Trustee fees, the Debtors seek a

different kind of final decree, one that consolidates all four cases into the case of Holdings, and

to close the cases of TWC, FootSmart and Big Dog. And Holdings has no operations and makes

only de minimis (if any) disbursements, incurring only minimum U.S. Trustee fees, while TWC,



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FootSmart, and Big Dog each make substantial disbursements and collectively incur more than

$250,000 of U.S. Trustee fees per calendar quarter. In other words, having received all of the

benefits of reorganizing in Chapter 11, the Debtors now seek to complete the administration of

their four cases for the price of one, and the lowest-priced one at that.

        35.     The Debtors offer no jurisdictional basis for this Court to use the Holdings case as

a vehicle to administer important matters in the TWC, FootSmart and Big Dog cases after those

cases are closed. They ignore the fundamental consequence of a final decree: the entry of a final

decree terminates the bankruptcy court's jurisdiction in the administration of the case. Lawrence

A. Ahern, III and Nancy Fraas MacLean, Bankruptcy Procedure Manual: Federal Rules of

Bankruptcy Procedure Annotated § 3022:1 (Feb. 2018 Update). The Court’s jurisdiction to re-

open a closed case does not confer a warrant – or jurisdiction – to use one open case as a vehicle

to administer three other, closed cases, as the Debtors propose here.

        36.     In reality, the Debtors are seeking a form of substantive consolidation that would

allow them to administer all four cases in the guise of, and for the price (quarterly fees) of, a

single case. What they seek is a variant of the “deemed consolidation” that the Third Circuit

found insufficient to avoid or reduce quarterly U.S. Trustee fees incurred by each of the

reorganized debtors in Genesis Health Ventures, Inc. v. Stapleton (In re Genesis Health

Ventures, Inc.),402 F.3d 416, 423-24 (3d Cir. 2005) (“deemed consolidation for plan purposes”

was not a substantive consolidation; each reorganized debtor was liable for U.S. Trustee fees

based on its disbursements, regardless of whether made by that reorganized debtor or by another

entity on its behalf).

        37.     The Motion is Genesis revisited: the Debtors, driven by the desire to reduce U.S.

Trustee fees, are seeking a “deemed consolidation for case administration” in which all four



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debtors continue their separate existence and three of them continue making millions of dollars

in ongoing disbursements, while they purport to complete the administration of all four Chapter

11 cases under the umbrella of a single “consolidated” case in the name of (and reporting only

the disbursement of) the Debtor that incurs the lowest quarterly U.S. Trustee fees.

       38.     The Genesis court noted that the debtors, who were sophisticated parties, could

have moved for substantive consolidation as a means of reducing U.S. Trustee fees, but

affirmatively decided not to do so. Id., at 423 n.10. Similarly, these Debtors, also sophisticated

parties, could have moved for substantive consolidation but elected not to do so. On the

contrary, the Plan expressly provides that:

       The Debtors will continue to exist after the Effective Date as separate legal
       entities, with all the powers of corporations pursuant to the applicable law in their
       states of incorporation and pursuant to the amended Organizational Documents.
       For the avoidance of doubt, there will be no substantive consolidation of the
       Chapter 11 Cases and the Estates for distribution, voting, or any other purposes
       under the Bankruptcy Code.”
Plan, Article V, Section B (emphasis added).
       39.     Having forgone substantive consolidation for their own business reasons, the

Debtors cannot now seek to modify their Plan, which they admit was substantially consummated

on June 29, 2018, to provide for substantive consolidation in any form or for any purpose. 11

U.S.C. Section 1127(b) bars modification of a confirmed plan after it has been substantially

consummated. In re U.S. Brass Corp., 301 F.3d 296, 307 (5th Cir. 2002) (finding proposed

agreement for binding arbitration of disputed claims was improper attempt to modify

substantially consummated plan that provided for resolution of disputed claims through

“litigation in court of competent jurisdiction”).

       40.     Nor can the Debtors invent a new “four-for-one” “deemed consolidated for case

administration” structure, which is simply another form of the substantive consolidation they

expressly chose not to pursue in the Plan. In re Rickel & Assoc., Inc., 260 B.R. 673, 677-78
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(Bankr. SD.N.Y. 2001) (holding parties cannot circumvent Section 1127(b) prohibition on

modifying substantially consummated plan by modifying confirmation order or other plan-

related document, and court cannot use its equitable powers to disregard Section 1127(b)’s

specific commands).

        41.    Each Debtor’s case must continue to be administered as a separate entity under its

own docket number, and must remain open and continue to file post-confirmation reports until

fully administered.

C. The Debtors Are Seeking Inappropriate Nunc Pro Tunc Relief.

        42.     The Motion requests a waiver of post-confirmation reporting in the cases of the

proposed Closing Debtors:

        [T]he requirement of further post-confirmation reporting in the Closed Cases
        should be waived. No beneficial purpose would be served by further reporting in
        those cases. The last activity in those cases was set forth in the most recently
        filed post-confirmation report and no further activity will occur in the Closed
        Cases.
Motion, ¶ 19. As stated earlier in this Objection, the request is confusing; as of July 16, 2018,

the Debtors have not yet filed MORs for June 2018 (they are due to be filed by July 20) and have

not filed or even been required (yet) to file any post-confirmation reports.

        43.    Moreover, all three of the proposed Closing Debtors have been conducting

uninterrupted business activity not only after the May 31, 2018 closing date of their May 2018

MORs, but also after the Plan’s June 29, 2018 Effective Date. While this request may be a stray

“artifact” of the template adapted from Majestic Star Casino, the Motion appears on its face to

be seeking relief from the proposed Closing Debtors’ respective obligations to file June 2018

MORs and any post-confirmation reports at all, and, apparently, relief from their corresponding

quarterly U.S. Trustee fee obligations, making such relief effective nunc pro tunc to May 31,

2018.

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         44.    Other than their professed belief that further reporting in the proposed Closing

Cases would serve no beneficial purpose, the Debtors do not explain why they seek retroactive

relief. However, retroactive relief would enable the Debtors to avoid the obligation to pay

quarterly fees accrued pursuant to 28 U.S.C. § 1930(a)(6) for any disbursements made in or after

June 2018 (whether pre- or post-confirmation). Such relief is not authorized and is directly

contrary to 28 U.S.C. § 1930(a)(6). The statute provides in relevant part that “a quarterly fee

shall be paid to the United States trustee, for deposit in the Treasury, in each case under chapter

11 of title 11 for each quarter (including any fraction thereof) until the case is converted or

dismissed, whichever occurs first.” (Emphasis added).

         45.    A fundamental tenet of statutory construction is that Congress “says in a statute

what it means and means in a statute what it says there.” Hartford Underwriters Ins. Co. v.

Union Planters Bank, N. A., 530 U.S. 1, 6 (2000). Thus, the starting point in construing the

statute and discerning congressional intent is the text of the statute. When the language is plain,

the courts must enforce it according to its terms unless doing so would produce an absurd result.

Lamie v. United States Trustee, 540 U.S. 526, 534 (2004).

         46.    Here, the language of 28 U.S.C. § 1930(a)(6) could not be clearer: quarterly U.S.

Trustee fees are due in a case until that case is converted or dismissed or, as at least one court has

noted, until each case is closed. Vergos v. Gregg’s Enterprises, Inc., 159 F.3d 989 (6th Cir.

1998).

         47.    In Hopper v. Uniroyal Plastics Acquisition Corp. (In re Uniroyal Plastics

Acquisition Corp.), Case No. 3:98cv500RM (N.D. Ind. Mar. 31, 1999), the United States District

Court for the District of Indiana discussed the meaning of the phrase “nunc pro tunc:” “The Latin

phrase is merely descriptive of the inherent power of the court to make its records speak the truth



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– to record that which was actually done, but omitted to be recorded. It is no warrant for the

entry of an order to record that which was omitted to be done.” Slip op. at 5 (emphasis added)

(quoting W.F. Sebel Co. v. Hessee (In re Fractman), 214 F.2d 459, 462 (10th Cir. 1954)). In

Hopper, the court reversed the bankruptcy court’s nunc pro tunc closing of a post-confirmation

chapter 11 case. The court agreed that the equities favored closing the case nunc pro tunc, but

held that such relief is not available “to correct an omission or failure to act, if it alters the

parties’ substantive rights.” Slip op. at 6. A copy of the Hopper slip opinion is attached as

Exhibit A.

        48.      To obtain nunc pro tunc relief, the Debtors must establish that there are

“extraordinary circumstances” warranting retroactive case closure. See F/S Airlease II, Inc. v.

Simon, 844 F.2d 99 (3d Cir.), cert. denied, 488 U.S. 852 (1988); In re Arkansas Co., 798 F.2d

645 (3d Cir. 1986). Courts in this Circuit have applied the stringent “extraordinary

circumstances” test in a variety of contexts, including professional retention, post-petition

financing, and the closing of bankruptcy cases. 4 See In re Lehigh Valley Professional Sports

Clubs, Inc., 260 B.R. 745, 750 (Bankr. E.D. Pa. 2001) (holding nunc pro tunc approval of

financing under 11 U.S.C. § 364 requires showing of “extraordinary circumstances”); Michaels

v. Nat’l Bank (In re E-Tron Corp.), 141 B.R. 49, 56-57 (Bankr. D.N.J. 1992) (citing F/S Airlease

and Arkansas); In re City Wide Press, Inc., 102 B.R. 431, 436 (Bankr. E.D. Pa. 1989), aff’d, 110

B.R. 710 (E.D. Pa. 1990); In re Massetti, 95 B.R. 360, 364 (Bankr. E.D. Pa. 1989).

        49.      Here, the request for retroactive relief from the obligation to file MORs and post-

confirmation reports does not seek to record something previously done but not recorded; it



        4
           In In re Tripar Meadows, Inc., Civ. No. 00-2232 (AJL) (D.N.J. Mar. 5, 2001), an unpublished decision,
the United States District Court for the District of New Jersey affirmed the bankruptcy court’s rejection of the
debtor’s request for nunc pro tunc relief to avoid paying quarterly fees.

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seeks instead to do something now as if it were accomplished on a date before the Plan was even

confirmed, after which each of the three proposed Closing Debtors continued to make additional

disbursements and continued to accrue U.S. Trustee fees under 28 U.S.C. § 1930(a)(6). Desire

to avoid a statutory fee is not an “extraordinary circumstance” – that is, a circumstance beyond

the moving party’s control. See Arkansas, 798 F.2d at 650 (“We agree instead with the approach

of those courts that limit the grant of retroactive approval to cases where prior approval would

have been appropriate and the delay in seeking approval was due to hardship beyond the

[movant’s] control.”) (citations omitted). The Debtors do not offer any authority for granting

relief from their reporting obligations nunc pro tunc to any date, let alone to a date earlier than

the Effective Date of a Plan which expressly rejects substantive consolidation for any purpose.

       50.     The sole benefit to the Debtors of any retroactive relief would be the detriment

imposed on the U.S. Trustee, depriving the U.S. Trustee of fees which are the source of funding

for the United States Trustee Program. The United States Trustee Program is not taxpayer-

funded, but relies instead on the collection of various fees, including quarterly fees under 28

U.S.C. Section 1930(a)(6). Congress developed the quarterly fees so that the United States

Trustee Program would be “self-funded by the users of the bankruptcy system - at no cost to the

taxpayer.” See H.R. REP. No. 99-764, at 25 (1986), reprinted in 1986 U.S.C.C.A.N. 5227, 5238;

see also H.R. REP. No. 99-764, at 22 (1986), reprinted in 1986 U.S.C.C.A.N. 5227, 5235 (“The

U.S. Trustee Program should not have to be self-funding. It provides a great service to our

country’s bankruptcy system. However, in this time of budget deficit concerns, self-funding

becomes a necessity.”).

       51.     Reduction of accrued U.S. Trustee fees is not an appropriate basis for retroactive

relief. Each Debtor’s respective reporting obligations and corresponding obligations for payment



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of quarterly U.S. Trustee fees must continue until the date that Debtor’s case is closed, converted

or dismissed.

                                          CONCLUSION

       52.      None of the Debtors’ cases are fully administered, and the Motion is premature.

Moreover, the form of relief the Debtors seek, collapsing four separate cases into a single

consolidated case for administration, is a form of substantive consolidation which would modify

the Debtors’ confirmed and substantially consummated Plan. The Debtors’ proposal for

retroactive relief from their respective obligations to file MORs and post-confirmation reports is

inappropriate. The final relief requested by the Debtors, a change of caption to reflect the

closing of three of the four cases, is superfluous unless and until a particular case is actually fully

administered and closed.

       53.      The U.S. Trustee leaves the Debtors to their burden of proof on each element of

relief requested, and reserves all discovery rights.




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       WHEREFORE, the United States Trustee respectfully requests that this Court deny the

Motion in its entirety, and grant such other relief as this Court deems appropriate.

                                              Respectfully submitted,

                                              ANDREW R. VARA
                                              ACTING UNITED STATES TRUSTEE
                                              Region 3



Dated: July 17, 2018                    BY: /s/ Mark S. Kenney
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